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       Sam Devine
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 9
10                             UNITED STATES DISTRICT COURT
11                          SOUTHERN DISTRICT OF CALIFORNIA
12
              Sam Devine,                                        Case No.: 3:16-cv-02999-AJB-
13
                                                                 MDD
14                              Plaintiff,
15            v.
                                                                 NOTICE OF SETTLEMENT
16
17            The Judge Law Firm, ALC and
              Stonecrest Village Master
18            Association,
19
                                Defendants.
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22     //
23     //
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27     //
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     Case 3:16-cv-02999-AJB-MDD Document 16 Filed 03/01/17 PageID.83 Page 2 of 2



 1          NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
 2     The Plaintiff anticipates filing a Request for dismissal of this action in its
 3     entirety with prejudice within 60 days. Plaintiff requests that all pending dates
 4     and filing requirements be vacated and that the Court set a deadline on or after
 5     May 1, 2017 for filing a request for dismissal.
 6
 7     Respectfully submitted,
 8
 9     Date: March 1, 2017                             HYDE & SWIGART
10
11                                                 By: s/ Jessica R. K. Dorman
                                                         Jessica R. K. Dorman
12                                                       Attorneys for Plaintiffs
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        NOTICE OF SETTLEMENT                          - 2 of 2 -                3:16-cv-02999-AJB-MDD
